B8 (Form 8) (12/08)
                                                          United States Bankruptcy Court
                                                                        District of Arizona
            Carl R. Durham
 In re      Terese M. Durham                                                                              Case No.    2:11-bk-31945
                                                                                  Debtor(s)               Chapter     7


                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION - AMENDED

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                  Describe Property Securing Debt:
 BSI Financial                                                                     Real estate located at 17251 N 61st Ave, Glendale AZ 85308
                                                                                   Mortgage 1: PNC Mortgage
                                                                                   Mortgage 2: BSI Financial
                                                                                   Debtors intend to retain
                                                                                   Value based on Zillow

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                  Describe Property Securing Debt:
 PNC MORTGAGE                                                                      Real estate located at 17251 N 61st Ave, Glendale AZ 85308
                                                                                   Mortgage 1: PNC Mortgage
                                                                                   Mortgage 2: BSI Financial
                                                                                   Debtors intend to retain
                                                                                   Value based on Zillow

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt




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 Property No. 3

 Creditor's Name:                                                                 Describe Property Securing Debt:
 SST/JPMC                                                                         2006 Volkswagen Jetta with 108,620 miles
                                                                                  Lienholder:SST/JPMC
                                                                                  Debtors intend to retain
                                                                                  Value based on Kelley Blue Book in fair condition. Needs
                                                                                  new brakes, hail damage, new tires.

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt

 Property No. 4

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Sunhaven Financial                                                               2008 Loan Runner (Trailer)
                                                                                  Lienholder: Sunhaven Financial, Inc.
                                                                                  Debtors intend to retain
                                                                                  Value based on Debtors best estimate
                                                                                  Damage to front of trailer

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                           Describe Leased Property:                   Lease will be Assumed pursuant to 11
 -NONE-                                                                                               U.S.C. § 365(p)(2):
                                                                                                         YES              NO




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I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date December 22, 2011                                                Signature   /s/ Carl R. Durham
                                                                                   Carl R. Durham
                                                                                   Debtor


 Date December 22, 2011                                                Signature   /s/ Terese M. Durham
                                                                                   Terese M. Durham
                                                                                   Joint Debtor




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